
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-102-CV





IN RE DAVID M. DIFFLEY, M.D. AND	RELATORS

RADIOLOGY ASSOCIATES OF TARRANT

COUNTY, P.A.



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL B:	LIVINGSTON, GARDNER, and WALKER, JJ.



DELIVERED: March 18, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




